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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

  PACIRA BIOSCIENCES, INC.,
                                                    Case No. 2:21 Civ. 09264
                             Plaintiff,
                                                    [PROPOSED] ORDER
               v.                                   GRANTING MOTION FOR
                                                    PRELIMINARY INJUNCTION
  AMERICAN SOCIETY OF AMERICAN
  ANESTHESIOLOGISTS, INC., et al.,

                             Defendants.



       This matter having come before the Court on the motion of Plaintiff Pacira

 BioSciences, Inc., (“Plaintiff”) for a preliminary injunction under Fed. R. Civ. P. 65;

 and the Court having considered the briefing, exhibits, and declarations in support

 of the motion; and for good cause shown:

       IT IS on this ______day of ____________, 2021 ORDERED that

       1.     Defendant American Society of Anesthesiologists (“ASA”) will

 remove the following materials from its website:

            a. Perineural Liposomal Bupivacaine Is Not Superior to Nonliposomal
               Bupivacaine for Peripheral Nerve Block Analgesia: A Systematic
               Review and Meta-analysis, authored by Defendants Nasir Hussain,
               Richard Brull, Brendan Sheehy, Michael K. Essandoh, David L.
               Stahl, Tristan E. Weaver, and Faraj W. Abdallah;

            b. Clinical Effectiveness of EXPAREL Administered by Infiltration or
               Peripheral Nerve Block to Treat Postoperative Pain: A Narrative
               Review, authored by Brian M. Ilfeld, James C. Eisenach, and Rodney
               A. Gabriel;
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            c. Liposomal Bupivacaine: Effective, Cost-effective, or (Just) Costly,
               authored by Mary Ellen McCann;

            d. The February 2021 Anesthesiology podcast and accompanying
               podcast transcript; and

            e. The February 2021 Continuing Medical Education (“CME”) quiz
               questions related to the February 2021 issue of Anesthesiology.

       2.     Defendant ASA shall publish a retraction of items (a)-(e) above in the

 next issue of Anesthesiology.

       3.     Individual defendants Evan D. Kharasch, Nasir Hussain, Richard Brull,

 Brendan Sheehy, Michael K. Essandoh, David L. Stahl, Tristan E. Weaver, Faraj W.

 Abdallah, Brian M. Ilfeld, James C. Eisenach, Rodney A. Gabriel, and Mary Ellen

 McCann will refrain from publishing or further disseminating items 1(a)-(e).



                                        ___________________________________
                                        HON.
                                        UNITED STATES DISTRICT JUDGE




                                           2
